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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
225 CADMAN PLAZA EAST
BROOKLYN, NEW YORK 11201
CHAMBERS OF
EDWARD RK. KORMAN
DISTRICT JUDGE

September 21, 2016

William Pabon

DIN: 87A3116

Attica Correctional Facility
Box 149

Attica, NY 14011-0149

re: CV-00-1178

Mr. Pabon:

Judge Korman is in receipt of your letter dated Sept. 13, 2016 inquiring as to the payment
for your civil action. I enclose a copy of the docket sheet in your case and direct your attention
to entry #28, which I have highlighted for your convenience. You will see that on March 20,
2003 Judge Korman denied your petition. You then filed a notice of appeal which was

dismissed on Mar. 15, 2004 (please see entry #32) as untimely.

A La) VV

PaulaMarie Susi
Case Manager to
Edward R. Korman, U.S.D.J.

we file

